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                                                 :   UNITED STATES BANKRUPTCY COURT
 In re:                                          :   FOR THE DISTRICT OF NEW JERSEY
 SHAPES/ARCH HOLDINGS L.L.C., et                 :   CHAPTER 11
 al.,                                            :
              Debtors.                           :   CASE NO. 08-14631 (GMB)
                                                 :
                                                 :   Hearing Date: July 28, 2008, at 10:00 a.m.


                         DEBTORS’ OBJECTION TO PROOF OF CLAIM
                          OF NEW JERSEY DIVISION OF TAXATION
         Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively the “Debtors”),1

 the debtors and debtors-in-possession, hereby submit, pursuant to Rule 3007 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”), their objection (the “Objection”) to the proof

 of claim (Claim No. 342, the “New Jersey Claim”) filed by the New Jersey Division of Taxation

 (“New Jersey”). In support of the Objection, the Debtors represent as follows:

                                           BACKGROUND

                                               General

         1.       On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

 petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy



 1
   In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of which are
 wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date (defined below):
 Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C. (“Accu-Weld”); and Ultra L.L.C.
 (“Ultra”).


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 Code”). The Debtors are authorized to continue to operate and manage their properties as

 debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

         2.       These cases are being jointly administered pursuant to this Court’s Order of

 March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

         3.       No trustee or examiner has been appointed in these cases.

         4.       An official committee of unsecured creditors (the “Committee”) was appointed on

 March 31, 2008, and has been active in these cases since that time.

         5.       The Court has jurisdiction over this Objection pursuant to 28 U.S.C. § 1334.

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to

 28 U.S.C. § 157(b)(2).

                                   Debtors’ Business Operations

         6.       Shapes/Arch is a holding company that owns each of the four operating

 companies - Shapes, Delair, Accu-Weld and Ultra. The Debtors’ predecessor was established in

 New Jersey in 1952 to produce aluminum windows. By 1959, the business had expanded and

 began focusing on producing aluminum extrusions. The Debtors have consistently expanded

 their businesses over the years by investing in new facilities and technology and by establishing

 new product lines. On a consolidated basis, the Debtors’ net revenue in 2007 was $273.8

 million, with Shapes generating approximately 65% of that revenue. The Debtors have over

 1000 employees, approximately 70% of whom are members of either the International

 Brotherhood of Teamsters Local 837, or the United Independent Union.

         7.       Shapes is the largest operating Debtor with 2007 revenue over $179 million and

 over 600 employees. Shapes is a leading producer of custom aluminum extrusions for a variety


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 of industries, including road and rail transportation and commercial and residential construction.

 Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to

 create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the

 necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press

 capacity and because all of its casting, extruding, fabricating and finishing is completed in one

 facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates

 twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be

 pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a

 variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of

 extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World

 Records” for the largest free standing aluminum structure ever created in connection with the

 restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in

 connection with the restoration of the Washington Monument.

         8.       In 2007 Shapes’ revenues decreased by approximately $35 million compared to

 2006. This decrease is, at least in part, attributable to the fact that 65% of Shapes’ sales are to

 the trailer, truck body and railcar sectors, all of which have been experiencing an economic

 downturn.

         9.       Delair manufactures maintenance free aluminum fence systems for residential and

 commercial use, and manufactures America’s most recognized brand of above-ground pools.

 Both product lines are sold through dealers, distributors and major retailers throughout the

 United States. Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,

 New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair

 purchases approximately 70% of its product line from Shapes. Because Delair’s sales are largely


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 tied to consumer spending and the housing market, Delair has suffered with that sector of the

 economy and its 2007 revenues were $5.5 million less than in 2006.

         10.      Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl

 replacement windows and steel doors. Accu-Weld’s products are sold to installers, dealers and

 home improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United

 States. Accu-Weld operates out of a 100,000 square foot facility in Bensalem, Pennsylvania.

 Unlike many of its competitors, Accu-Weld extrudes its own vinyl profiles, which results in

 faster production and delivery to the customer. Accu-Weld’s net revenues in 2007 were $24.9

 million, down from $37 million in 2006. The loss of revenue is due principally to Accu-Weld

 ceasing to do business with certain customers that were not profitable or which presented

 significant, unjustifiable credit risk and the general decline of the housing market.

         11.      Ultra is one of the leading suppliers of value branded hardware products in the

 United States, including locksets, door and window hardware and other decorative hardware.

 Ultra has over 8,000 products sourced primarily from China. Ultra’s products are sold to home

 improvement and hardware retailers, hardware cooperatives and distributors, home builders and

 window and door manufacturers. Ultra operates from a 75,000 square foot distribution facility in

 Pennsauken, New Jersey, with two million cubic feet of storage space. Ultra’s EBITDA

 decreased by $2.2 million due primarily to sales of hardware to lower margin accounts and the

 rapid escalation of product costs from China that could not be passed on to Ultra’s customers.


                                   Schedules And Proofs Of Claim

         12.      On the Petition Date the Debtors filed their Statements of Financial Affairs,

 Schedules of Assets and Liabilities and Schedule of Executory Contracts and Unexpired Leases

 (the “Bankruptcy Materials”.)

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         13.      Pursuant to this Court’s order, dated March 18, 2008, the Debtors retained Epiq

 Bankruptcy Solutions, L.L.C. as their official claims and noticing agent.

         14.      On March 18, 2008, this Court entered an order pursuant to Bankruptcy Rules

 2002(a)(7) and 3003(c)(3) establishing the deadline for proofs of claim and approving the form

 and manner of notice thereof [Dkt. No. 35] (the “Bar Date Order”).

         15.      Pursuant to the Bar Date Order, the deadline for all persons and entities to file

 proofs of claim against the Debtors for claims that arose on or prior to the Petition Date was May

 15, 2008.

         16.      As of May 15, 2008, more than 700 proofs of claim have been filed in the

 Debtors’ Chapter 11 cases. The Debtors are conducting a review and reconciliation of all pre-

 petition claims, including the claims scheduled in the Debtors’ Schedules (the “Scheduled

 Claims”) and the claims asserted by proof of claim (the “Filed Claims”). This process includes

 identifying particular categories of Filed Claims that may be targeted for disallowance and

 expungement.

                  Approval of the Disclosure Statement and Bidding Procedures

         17.      On May 12 and 13, 2008, respectively, the Debtors filed their Second Amended

 Joint Plan (the “Second Amended Plan”) and disclosure statement. Although the Debtors, Arch

 and the Committee had not agreed on all of the terms of the Second Amended Plan, it was filed

 in order to avoid a default under the terms of the Arch Amended DIP Agreement. The Second

 Amended Plan provided for a competitive process by which third parties would have an

 opportunity to conduct due diligence and participate in an auction to purchase the equity interests

 in Shapes/Arch (and thus obtain ownership of the equity interests in all of the Debtors) prior to

 the confirmation hearing.

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         18.      On May 12, 2008, the Debtors filed a motion for approval of bid procedures (the

 “Bid Procedures Motion”) to: (a) control the method by which potentially interested bidders

 would be able to obtain due diligence, (b) provide the procedures for parties submitting

 competing bids to follow, and (c) schedule and provide procedures for an auction, if qualified

 bids are submitted.

         19.      On May 20, 2008, the Court granted the Bid Procedures Motion, which required

 all competing bids to be submitted no later than June 25, 2008, and scheduled an auction for June

 27, 2008, if qualified bids are submitted.

         20.      On May 23, 2008, the Court approved the disclosure statement (the “Disclosure

 Statement”) in support of the Debtors’ Third Amended Joint Plan (the “Third Amended Plan”).

 The Third Amended Plan was filed after the Debtors, Arch and the Committee had resolved the

 issues that had been outstanding at the time the Second Amended Plan was filed. A hearing to

 consider confirmation of the Third Amended Plan is scheduled for July 8, 2008.

                      RELIEF REQUESTED AND THE BASIS THEREFOR

         21.      By this Objection, the Debtors seek to disallow and expunge the New Jersey

 Claim. The Debtors have reviewed the New Jersey Claim and their books and records and have

 determined that no amount is owed to New Jersey.

         22.      If the New Jersey Claim is not disallowed and expunged, New Jersey would

 receive a distribution from the Debtors to which it is not entitled.

         23.      Therefore, the Debtors request that the Court enter an order disallowing and

 expunging the New Jersey Claim.




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                                           RESERVATION

         24.      The Debtors reserve the right to object in the future to the New Jersey Claim, if it

 is not disallowed and expunged pursuant to this objection, on any additional grounds. Separate

 notice and hearing will be scheduled for any such objection.

                                               NOTICE

         25.      Notice of this Motion has been provided to: (a) counsel for CIT, (b) counsel for

 Arch, (c) the Office of the United States Trustee, (d) the Internal Revenue Service, (e) the New

 Jersey Attorney General, (f) the Commonwealth of Pennsylvania Department of Revenue, (g)

 counsel to the Committee, (h) New Jersey, and (i) all parties on the Master Service List. In light

 of the nature of the relief requested herein, the Debtors submit that no further notice is necessary.


         WHEREFORE, the Debtors respectfully request that the Court sustain the Objection,

 expunge the New Jersey Claim and grant such other and further relief as is just and proper.


 Dated: June 20, 2008                           COZEN O’CONNOR

                                                By:       /s/ Jerrold N. Poslusny, Jr.
                                                      Mark E. Felger
                                                      Jerrold N. Poslusny, Jr.

                                                      Attorneys for the Debtors




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                                           VERIFICATION
         Paul Sorensen certifies and states as follows:

         1.       I am the Chief Financial Officer of Shapes/Arch Holdings L.L.C. and Shapes

 L.L.C.2, and I am fully authorized to make this Verification on all of the Debtors’ behalf.

         2.       I have read the foregoing Objection and I hereby certify and verify that all of the

 statements contained therein are true.

         3.       I hereby verify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements made by me is willfully false, I am subject to punishment.



                                                          Paul Sorensen

 Dated: June 20, 2008




 2
  Unless otherwise defined capitalized terms shall have the same meaning ascribed to them in the
 Motion.


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